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 7
 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10
     YEONG LEE,                                       Case No.:
11
                    Plaintiff,                        COMPLAINT FOR INJUNCTIVE
12                                                    RELIEF AND DAMAGES FOR DENIAL
              vs.                                     OF CIVIL RIGHTS OF A DISABLED
13                                                    PERSON IN VIOLATIONS OF
14                                                    1. AMERICANS WITH DISABILITIES
     ALVARO'S MEXICAN FOOD INC.;                      ACT, 42 U.S.C. §12131 et seq.;
15
     AMERICAN PROPERTY                                2. CALIFORNIA’S UNRUH CIVIL
16                                                    RIGHTS ACT;
     INVESTMENTS LLC; and DOES 1 to 10,
17                  Defendants.                       3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
18
                                                      4. CALIFORNIA HEALTH & SAFETY
19                                                    CODE;
20                                                    5. NEGLIGENCE
21
22
23
24            Plaintiff YEONG LEE (“Plaintiff”) complains of Defendants ALVARO'S
25   MEXICAN FOOD INC.; AMERICAN PROPERTY INVESTMENTS LLC; and DOES
26   1 to 10 (“Defendants”) and alleges as follows:
27   //
28   //



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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is a
 3   transfemoral amputee below both thighs and is substantially limited in her ability to walk.
 4   Plaintiff requires the use of a wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a restaurant
 7   (“Business”) located at or about 415 N. Grand Ave., Santa Ana, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Orange County,
 8   California, and that all actions complained of herein take place in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about May of 2023, Plaintiff went to the Business.
11         11.    The Business is a restaurant business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with her ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to post required signage such as “Van Accessible,” “Minimum
22                       Fine $250” and “Unauthorized Parking.”
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to paint the ground as required.
26                c.     Defendants failed to maintain the parking space designated for
27                       persons with disabilities to comply with the federal and state
28




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 1                       standards. Defendants failed to maintain the mark on the space with
 2                       the International Symbol of Accessibility.
 3                d.     Defendants failed to comply with the federal and state standards for
 4                       the parking space designated for persons with disabilities. Defendants
 5                       failed to provide an access aisle with level surface slope.
 6                e.     Defendants failed to maintain accessibility for persons with
 7                       disabilities to comply with the federal and state standards. Defendants
 8                       failed to provide at least one accessible entrance as required as the
 9                       ramp that runs up to the entrance did not have level landing and had a
10                       slope that was too steep.
11         14.    These barriers and conditions denied Plaintiff the full and equal access to the
12   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
13   patronize the Business; however, Plaintiff is deterred from visiting the Business because
14   her knowledge of these violations prevents her from returning until the barriers are
15   removed.
16         15.    Based on the violations, Plaintiff alleges, on information and belief, that
17   there are additional barriers to accessibility at the Business after further site inspection.
18   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
19   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
20         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
21   knew that particular barriers render the Business inaccessible, violate state and federal
22   law, and interfere with access for the physically disabled.
23         17.    At all relevant times, Defendants had and still have control and dominion
24   over the conditions at this location and had and still have the financial resources to
25   remove these barriers without much difficulty or expenses to make the Business
26   accessible to the physically disabled in compliance with ADDAG and Title 24
27   regulations. Defendants have not removed such barriers and have not modified the
28   Business to conform to accessibility regulations.



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 1                                   FIRST CAUSE OF ACTION
 2       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



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 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area are not disproportionate to the overall alterations in terms of cost
15                       and scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be a van accessible parking space. 2010 ADA Standards § 208.2.4. Signs shall be 60
22   inches (1525 mm) minimum above the finish floor or ground surface measured to the
23   bottom of the sign. 2010 ADA Standards § 502.6.
24         22.    Under the ADA, the method and color of marking are to be addressed by
25   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
26   Building Code (“CBC”), the parking space identification signs shall include the
27   International Symbol of Accessibility. Parking identification signs shall be reflectorized
28   with a minimum area of 70 square inches. Additional language or an additional sign



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 1   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 2   parking space identification sign shall be permanently posted immediately adjacent and
 3   visible from each parking space, shall be located with its centerline a maximum of 12
 4   inches from the centerline of the parking space and may be posted on a wall at the
 5   interior end of the parking space. See CBC § 11B-502.6, et seq.
 6         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 7   each entrance to an off-street parking facility or immediately adjacent to on-site
 8   accessible parking and visible from each parking space. The additional sign shall not be
 9   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
10   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
11   designated accessible spaces not displaying distinguishing placards or special license
12   plates issued for persons with disabilities will be towed always at the owner’s expense…”
13   See CBC § 11B-502.8, et seq.
14         24.    Here, Defendants failed to provide the signs stating “Minimum Fine $250”
15   and “Van Accessible.” Moreover, Defendants failed to provide the additional sign with
16   the specific language stating “Unauthorized vehicles parked in designated accessible
17   spaces not displaying distinguishing placards or special license plates issued for persons
18   with disabilities will be towed always at the owner’s expense…”
19         25.    For the parking spaces, access aisles shall be marked with a blue painted
20   borderline around their perimeter. The area within the blue borderlines shall be marked
21   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
22   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
23   be painted on the surface within each access aisle in white letters a minimum of 12 inches
24   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
25   11B-502.3.3.
26         26.    Here, Defendants failed to provide a proper access aisle as there was no “NO
27   PARKING” painted on the parking surface.
28




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 1         27.    The surface of each accessible car and van space shall have surface
 2   identification complying with either of the following options: The outline of a profile
 3   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 4   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 5   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 6   length of the parking space and its lower side or corner aligned with the end of the
 7   parking space length or by outlining or painting the parking space in blue and outlining
 8   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 9   occupant. See CBC § 11B-502.6.4, et seq.
10         28.    Here, Defendants failed to maintain the mark on the surface with the
11   International Symbol of Accessibility as required.
12         29.    Under the 1991 Standards, parking spaces and access aisles must be level
13   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
14   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
15   shall be part of an accessible route to the building or facility entrance and shall comply
16   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
17   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
18   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
19   directions. 1991 Standards § 4.6.3.
20         30.    Here, the access aisle is not level with the parking space as there were large
21   cracks and broken asphalt that created an uneven surface. Under the 2010 Standards,
22   access aisles shall be at the same level as the parking spaces they serve. Changes in level
23   are not permitted. 2010 Standards § 502.4. “Access aisles are required to be nearly level
24   in all directions to provide a surface for transfer to and from vehicles.” 2010 Standards §
25   502.4 Advisory. Id. No more than a 1:48 slope is permitted.
26         31.    At least one accessible route shall connect accessible building, facilities,
27   elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
28   accommodation shall maintain in operable working condition those features of facilities



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 1   and equipment that are required to be readily accessible to and usable by persons with
 2   disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 3         32.      Here, Defendants failed to provide at least one accessible entrance to the
 4   Business as the ramp that runs up to the entrance did not have level landing and had a
 5   slope that was too steep.
 6         33.      A public accommodation shall maintain in operable working condition those
 7   features of facilities and equipment that are required to be readily accessible to and usable
 8   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9         34.      By failing to maintain the facility to be readily accessible and usable by
10   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11   regulations.
12         35.      The Business has denied and continues to deny full and equal access to
13   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14   discriminated against due to the lack of accessible facilities, and therefore, seeks
15   injunctive relief to alter facilities to make such facilities readily accessible to and usable
16   by individuals with disabilities.
17                                 SECOND CAUSE OF ACTION
18                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19         36.      Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         37.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23   national origin, disability, medical condition, genetic information, marital status, sexual
24   orientation, citizenship, primary language, or immigration status are entitled to the full
25   and equal accommodations, advantages, facilities, privileges, or services in all business
26   establishments of every kind whatsoever.”
27         38.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



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 1   for each and every offense for the actual damages, and any amount that may be
 2   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5   person denied the rights provided in Section 51, 51.5, or 51.6.
 6         39.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8   shall also constitute a violation of this section.”
 9         40.    The actions and omissions of Defendants alleged herein constitute a denial
10   of full and equal accommodation, advantages, facilities, privileges, or services by
11   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13   51 and 52.
14         41.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16   damages as specified in California Civil Code §55.56(a)-(c).
17                                  THIRD CAUSE OF ACTION
18                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19         42.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         43.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22   entitled to full and equal access, as other members of the general public, to
23   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28   places of public accommodations, amusement, or resort, and other places in which the



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 1   general public is invited, subject only to the conditions and limitations established by
 2   law, or state or federal regulation, and applicable alike to all persons.
 3         44.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4   corporation who denies or interferes with admittance to or enjoyment of public facilities
 5   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7   the actual damages, and any amount as may be determined by a jury, or a court sitting
 8   without a jury, up to a maximum of three times the amount of actual damages but in no
 9   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10   determined by the court in addition thereto, suffered by any person denied the rights
11   provided in Section 54, 54.1, and 54.2.
12         45.    California Civil Code § 54(d) specifies, “a violation of the right of an
13   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14   constitute a violation of this section, and nothing in this section shall be construed to limit
15   the access of any person in violation of that act.
16         46.    The actions and omissions of Defendants alleged herein constitute a denial
17   of full and equal accommodation, advantages, and facilities by physically disabled
18   persons within the meaning of California Civil Code § 54. Defendants have
19   discriminated against Plaintiff in violation of California Civil Code § 54.
20         47.    The violations of the California Disabled Persons Act caused Plaintiff to
21   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22   statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                FOURTH CAUSE OF ACTION
24                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25         48.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         49.    Plaintiff and other similar physically disabled persons who require the use of
28   a wheelchair are unable to use public facilities on a “full and equal” basis unless each



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 1   such facility is in compliance with the provisions of California Health & Safety Code §
 2   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3   provisions of California Health & Safety Code § 19955 et seq.
 4          50.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5   that public accommodations or facilities constructed in this state with private funds
 6   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7   Title 1 of the Government Code. The code relating to such public accommodations also
 8   require that “when sanitary facilities are made available for the public, clients, or
 9   employees in these stations, centers, or buildings, they shall be made available for
10   persons with disabilities.
11          51.    Title II of the ADA holds as a “general rule” that no individual shall be
12   discriminated against on the basis of disability in the full and equal enjoyment of goods
13   (or use), services, facilities, privileges, and accommodations offered by any person who
14   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15   Further, each and every violation of the ADA also constitutes a separate and distinct
16   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17   award of damages and injunctive relief pursuant to California law, including but not
18   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                   FIFTH CAUSE OF ACTION
20                                         NEGLIGENCE
21          52.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23          53.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25   to the Plaintiff.
26          54.    Defendants breached their duty of care by violating the provisions of ADA,
27   Unruh Civil Rights Act and California Disabled Persons Act.
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 1         55.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2   has suffered damages.
 3                                    PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5   Defendants as follows:
 6         1.     For preliminary and permanent injunction directing Defendants to comply
 7   with the Americans with Disability Act and the Unruh Civil Rights Act;
 8         2.     Award of all appropriate damages, including but not limited to statutory
 9   damages, general damages and treble damages in amounts, according to proof;
10         3.     Award of all reasonable restitution for Defendants’ unfair competition
11   practices;
12         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13   action;
14         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15         6.     Such other and further relief as the Court deems just and proper.
16                              DEMAND FOR TRIAL BY JURY
17         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18   demands a trial by jury on all issues so triable.
19
20   Dated: August 3, 2023                   SO. CAL. EQUAL ACCESS GROUP
21
22
23                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
24                                                  Attorneys for Plaintiff
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